 Case 2:22-cr-20243-SFC-APP ECF No. 20, PageID.54 Filed 03/04/22 Page 1 of 5




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

United States of America,

       Plaintiff,                                   Case No. 21-mj-30334

v.

Kyle Hobbs,

       Defendant.


                          Stipulation to Continue the
              Preliminary Examination and Find Excludable Delay


       The parties jointly submit this stipulation and request that the Court order

the time period in which an indictment must be returned be continued for 30 days

and find that the ends of justice served by this continuance outweigh the best

interests of the defendant and the public in a speedy indictment. The parties agree

that the preliminary hearing date currently scheduled for March 9, 2022, should be

adjourned to April 8, 2022.

       Ordinarily, an indictment must be returned within thirty days from the date

on which a defendant is arrested on a complaint. 18 U.S.C. § 3161(b). That period

may be continued by the Court, however, and under some circumstances the

resulting period of delay may be found to be excludable delay for purposes of the
 Case 2:22-cr-20243-SFC-APP ECF No. 20, PageID.55 Filed 03/04/22 Page 2 of 5




30-day clock of § 3161(b). 18 U.S.C. § 3161(h)(7)(A). The parties jointly request

that the Court continue the period in which an indictment must be returned by 30

days, because the parties need more time to meet and confer regarding the charges.

Specifically, the government recently provided pre-indictment discovery to the

defense. The defense has reviewed that discovery and the parties recently

conferred about potential charges and a potential pre-trial resolution to the case.

The defense will need additional time to coordinate with the defendant about the

proposed pretrial resolution of the case. The government plans to propose a formal

Rule 11 Plea Agreement during the next 30 days as well. Accordingly, additional

time is necessary. Failure to grant a continuance would result in a miscarriage of

justice. See 18 U.S.C. § 3161(h)(7)(B)(i).

        The parties further stipulate and request that the Court find that, in light of

the factors set forth in § 3161(h)(7)(B), the ends of justice served by this

continuance outweigh the best interests of the defendant and the public in a speedy

indictment, and that such time should therefore be excluded from the time within




                                           2
 Case 2:22-cr-20243-SFC-APP ECF No. 20, PageID.56 Filed 03/04/22 Page 3 of 5




which an indictment must be filed. See 18 U.S.C. § 3161(h)(7)(A) (allowing for

periods of excludable delay).

   IT IS SO STIPULATED.


DAWN N. ISON
United States Attorney

s/Kevin M. Mulcahy                          s/Samuel Bennett (with consent)
Kevin M. Mulcahy                            Samuel J. Bennett
Assistant United States Attorney            Attorney for Defendant
211 W. Fort Street, Suite 2001              25600 Woodward Avenue, Suite 214
Detroit, MI 48226                           Royal Oak, MI 48067
Kevin.Mulcahy@usdoj.gov                     sam@bennettplc.com
(313) 226-9713                              (248) 281-6991

Date: March 4, 2022




                                        3
 Case 2:22-cr-20243-SFC-APP ECF No. 20, PageID.57 Filed 03/04/22 Page 4 of 5




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

United States of America,

       Plaintiff,                                    Case No. 21-mj-30334

v.

Kyle Hobbs,

       Defendant.


                           Order Continuing the
           Preliminary Hearing Date and Finding Excludable Delay


       The Court has considered the parties’ stipulation and joint motion to

continue the preliminary examination by 30 days, and hereby grants that request.

For the reasons described in the parties’ stipulation, which the Court adopts as its

own, the Court specifically finds that failure to grant a continuance would likely

make a continuation of the proceeding impossible, or result in a miscarriage of

justice. See 18 U.S.C. § 3161(h)(7)(B)(i).

       Accordingly, the Court finds, after considering the factors set forth in 18

U.S.C. § 3161(h)(7)(B), that the ends of justice served by this continuance

outweigh the best interests of the public and the defendant in a speedy trial and that

this continuance qualifies as excludable delay under 18 U.S.C. § 3161(h)(7)(A).
 Case 2:22-cr-20243-SFC-APP ECF No. 20, PageID.58 Filed 03/04/22 Page 5 of 5




       IT IS THEREFORE ORDERED that the preliminary examination

currently set for March 9, 2022, be adjourned to April 8, 2022, and that the time

period be excluded under 18 U.S.C. § 3161(b).

       IT IS SO ORDERED.



                                             s/Kimberly G. Altman
                                             Hon. Kimberly G. Altman
                                             United States Magistrate Judge
Entered: March 4, 2022




                                         2
